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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
DANIEL COOPER,
Plaintiff,
CASE NO.: 6:12-CV-1237-ORL-36-DAB
-y5-

ARS NATIONAL SERVICES INC.,

Defendant.
/

JOINT STIPULATION ON SETTLEMENT
COME NOW the parties by and through the undersigned and hereby stipulate and agree that
that this case has been settled and should be dismissed with prejudice and summarily closed on the

Court Docket with each party to bear their own fees and costs.

 

(s/ Jared M. Lee , /s/ Alexandra De Alejo

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